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                 Attorneys for AT&T MOBILITY, LLC
          10
                                     UNITED STATES DISTRICT COURT
          11
                                    CENTRAL DISTRICT OF CALIFORNIA
          12
                                              WESTERN DIVISION
          13
                 SETH SHAPIRO,                         CASE NO. 2:19-CV-8972 (CBM)
          14
                                 Plaintiff,            DEFENDANT AT&T MOBILITY
          15                                           LLC’S NOTICE OF MOTION AND
                      v.                               MOTION TO DISMISS THE
          16                                           COMPLAINT; MEMORANDUM OF
                 AT&T MOBILITY, LLC,                   POINTS AND AUTHORITIES IN
          17                                           SUPPORT THEREOF
                                 Defendant.
          18                                           [[Proposed] Order lodged concurrently
                                                                 herewith]
          19
                                                       Action Filed: October 17, 2019
          20
                                                       Hearing:
          21                                           Date:    February 18, 2020
                                                       Time:    10:00 a.m.
          22                                           Place:   350 West 1st Street, 8th Floor
                                                                Courtroom 8B
          23                                                    Los Angeles, CA 90012
                                                       Judge:   Hon. Consuelo B. Marshall
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            1                                    NOTICE OF MOTION
            2    TO ALL PARTIES AND THEIR COUNSEL OF RECORD:
            3          PLEASE TAKE NOTICE that at 10:00 a.m. on February 18, 2020, before the
            4    Honorable Consuelo B. Marshall, United States District Court Judge, in Courtroom 8B,
            5    at 350 West 1st Street, 8th Floor, Los Angeles, California 90012, Defendant AT&T
            6    Mobility LLC (“AT&T” or “Defendant”) will and hereby does move, pursuant to Rule
            7    12(b)(6) of the Federal Rules of Civil Procedure, to dismiss Plaintiff Seth Shapiro’s
            8    complaint.
            9          AT&T moves to dismiss all claims for the following reasons:
          10           1.      As to all claims, Mr. Shapiro has failed to plausibly allege proximate cause;
          11           2.      Claim 3 (California constitutional right to privacy) fails to allege an
          12     egregious breach of social norms and fails to plead the required reasonable expectation
          13     of privacy;
          14           3.      Claims 4 and 5 (negligence) are foreclosed by the economic loss doctrine;
          15           4.      Claim 6 (Consumer Legal Remedies Act) does not plead the required notice
          16     and opportunity to cure; does not plead that Mr. Shapiro read the documents he alleges
          17     he relied upon; and does not plead that any misrepresentation occurred before his
          18     transaction with AT&T;
          19           5.      Claim 7 (Computer Fraud and Abuse Act) does not plead that Mr. Shapiro
          20     suffered a recoverable loss;
          21           AT&T also moves to dismiss Mr. Shapiro’s request for punitive damages because
          22     Mr. Shapiro has not pled any involvement by an “officer, director or managing agent”
          23     of AT&T in any challenged conduct and has not pled the required malice, fraud or
          24     oppression.
          25           The Motion is based on this Notice of Motion, the Memorandum of Points and
          26     Authorities that follows, all pleadings and records on file in this action, and any other
          27     arguments and evidence presented to this Court at or before the hearing on the Motion.
          28

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            1          This Motion is made following the conference of counsel pursuant to Civil
            2    Local Rule 7-3, which took place on November 27, 2019.
            3
            4
                 Dated: December 6, 2019              Respectfully submitted,
            5
                                                      GIBSON, DUNN & CRUTCHER LLP
            6
            7
                                                      By: /s/ Marcellus A. McRae
            8                                             Marcellus A. McRae
            9                                              Attorney for Defendant
                                                           AT&T MOBILITY LLC
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            1                                      I.     Introduction
            2           Criminals stole cryptocurrency from Seth Shapiro. Mr. Shapiro blames AT&T
            3    for the theft, but he is wrong, and his complaint states no viable claim against AT&T
            4    under any theory.
            5           Instead, Mr. Shapiro’s complaint hinges on the bare-thin conclusion that the
            6    alleged transfer of his phone number to another phone (a “SIM swap”) controlled by
            7    criminals set into motion a lengthy, complex, unspecified chain of events that somehow
            8    permitted the same or other criminals access to Mr. Shapiro’s various accounts—
            9    accounts that AT&T itself could not have accessed. Nothing that he alleges connects
          10     the alleged SIM swap to myriad other events that were necessary predicates for the
          11     criminals to steal his cryptocurrency.
          12           Mr. Shapiro’s complaint is based on inference. He wants the Court to believe
          13     that, because he experienced a SIM swap and a theft, the SIM swap must not only have
          14     been necessary for that theft to occur, but also the theft’s proximate cause. But it is
          15     equally plausible that the SIM swap had nothing to do with the thefts, because the SIM
          16     swap and the thefts reflect that criminals must have had pre-existing knowledge of Mr.
          17     Shapiro’s holdings and his personal information, yet the complaint lacks any allegations
          18     to explain how the SIM swap contributed to that pre-existing knowledge. Mr. Shapiro
          19     certainly has not pled that the alleged SIM swap was a proximate cause of any theft, and
          20     could not credibly do so because his causation chain depends not only on the criminal
          21     acts of third parties, but also on entirely undisclosed intervening steps that cannot even
          22     be examined to determine whether they were tenuous or unforeseeable. For instance,
          23     Mr. Shapiro does not explain what security protected his funds; what information the
          24     criminals required to circumvent that security; or what, if any, of that information was
          25     obtained independent of the alleged SIM swap. When the theory of causation requires
          26     the Court to indulge a guess as to how the alleged misconduct caused the alleged harm,
          27     the complaint fails to plead proximate cause.
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            1          In addition to his failure to plead proximate cause, Mr. Shapiro’s claims also have
            2    additional flaws that require dismissal. Each of these flaws is set forth in the Notice of
            3    Motion and discussed below in more detail.
            4          In short, Mr. Shapiro’s complaint overreaches at every turn in his attempt to blame
            5    AT&T for conduct that it did not control, and for harm that should be assigned to the
            6    intentional misconduct of third-party hackers or, potentially, to Mr. Shapiro’s own
            7    negligence, if any loss occurred at all. The complaint should be dismissed in its entirety.
            8                                          II.    Facts1
            9          According to the allegations in the complaint, Mr. Shapiro entered into a wireless
          10     contract with AT&T in 2006. Compl. ¶ 10. On May 16, 2018, Mr. Shapiro noticed that
          11     his cell phone was no longer connected to the AT&T network. Compl. ¶ 31. He later
          12     learned that the wireless number associated with his SIM card had been assigned to
          13     another SIM card in a phone controlled by third-party criminal hackers. Compl. ¶¶ 36,
          14     47–48. Mr. Shapiro alleges that the hackers used the SIM swap to take control of his
          15     phone number and, without further explanation, that the hackers were able to access
          16     eleven cryptocurrency accounts and transfer funds from an unspecified number of these
          17     accounts. Compl. ¶¶ 39–40, 42–44.
          18           While hackers were allegedly gaining access to Mr. Shapiro’s cryptocurrency
          19     accounts, Mr. Shapiro called AT&T customer service and later visited an AT&T retail
          20     location and purchased a new phone. Compl. ¶¶ 33, 35. AT&T representatives at the
          21     retail store purportedly told Mr. Shapiro that “they had noted the SIM swap activity in
          22     his account,” but that his “SIM card would not be swapped again without his
          23     authorization.” Compl. ¶ 36. He alleges that a few minutes later, another unauthorized
          24     SIM swap occurred, and that while he was waiting to speak to another AT&T
          25     representative, hackers transferred and stole roughly $1.8 million from his
          26     cryptocurrency accounts. Compl. ¶¶ 39, 42. He alleges that two more swaps occurred
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                   For this motion only, AT&T assumes the truth of the well-pled allegations in Mr.
                 Shapiro’s complaint.
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            1    over the following year, but does not allege that he lost funds from those swaps. Compl.
            2    ¶¶ 65, 68. Mr. Shapiro then filed this action.
            3                                    III.    Standard of Review
            4          “To survive a motion to dismiss, a complaint must contain sufficient factual
            5    matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft
            6    v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544,
            7    570 (2007)). A claim is plausible “when the plaintiff pleads factual content that allows
            8    the court to draw the reasonable inference that the defendant is liable for the misconduct
            9    alleged.” Iqbal, 556 U.S. at 678. A “pleading that offers labels and conclusions or a
          10     formulaic recitation of the elements of a cause of action will not do.” Id. (internal
          11     quotation marks and citations omitted). If a complaint “pleads facts that are ‘merely
          12     consistent with’ a defendant’s liability, it ‘stops short of the line between possibility and
          13     plausibility of entitlement to relief.’” Id. (quoting Twombly, 550 U.S. at 557).
          14           Moreover, claims that sound in fraud “must meet the heightened pleading
          15     requirements of Rule 9(b).” UMG Recordings, Inc. v. Glob. Eagle Entm’t, Inc., 117 F.
          16     Supp. 3d 1092, 1106 (C.D. Cal. 2015) (internal citation omitted).               “Rule 9(b)’s
          17     heightened pleading standards apply to claims for violations of the CLRA” where those
          18     claims sound in fraud. Kearns v. Ford Motor Co., 567 F.3d 1120, 1125 (9th Cir. 2009).
          19                                            IV.   Argument
          20     A.    Mr. Shapiro Failed To Adequately Allege Proximate Causation for Any of
          21           His Claims.
          22           Under California law, “causation of damages” in tort cases “requires that the
          23     damages be proximately caused by the defendant’s breach, and that their causal
          24     occurrence be at least reasonably certain.” Vu v. Cal. Comm. Club, Inc., 58 Cal. App.
          25     4th 229, 233 (1997). Proximate cause “is that cause which, in natural and continuous
          26     sequence, unbroken by any efficient intervening cause, produced the [alleged] injury . . .
          27     and without which such result would not have occurred.” California v. Super. Ct., 150
          28     Cal. App. 3d 848, 857 (1984) (internal citation and quotation marks omitted); see also

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            1    Johnson v. Nw. Airlines, Inc., 2010 WL 5564629, at *8 (N.D. Cal. May 5, 2010). A
            2    defendant’s liability does not extend “to damage suffered as a proximate result of the
            3    independent intervening acts of others.” Martinez v. Pac. Bell, 225 Cal. App. 3d 1557,
            4    1565 (1990). Mr. Shapiro has not adequately pled proximate cause for any of his claims.
            5          1.    Mr. Shapiro Does Not Allege How Accessing His Phone Number Led
            6                to the Loss of $1.8 Million.
            7          Mr. Shapiro alleges that inadequate security measures led to the theft of his
            8    cryptocurrency. But these allegations are bare conclusions, lacking any explanation of
            9    the sequence of events leading to his claimed loss. Iqbal, 556 U.S. at 662. While Mr.
          10     Shapiro alleges four SIM swaps, only one of these allegedly led to any loss. Compl.
          11     ¶ 39. Importantly, a SIM swap by itself does not provide knowledge of or access to a
          12     cryptocurrency or other account. At most, a SIM swap transfers control of a phone
          13     number. See Compl. ¶¶ 20–24. To gain access to cryptocurrency, one would need to
          14     also have account information—where the funds were located, who controlled the
          15     accounts in which they were held, and how to circumvent security to access those funds.
          16           Mr. Shapiro alleges that, after executing a single SIM swap, hackers took control
          17     of eleven different cryptocurrency accounts, Compl. ¶ 40, “four email addresses,” and
          18     his “Evernote” and “PayPal” accounts, Compl. ¶ 44. Yet Mr. Shapiro fails to plausibly
          19     allege how the purported swap of his SIM card was in any way necessary or sufficient
          20     to achieve these actions. Indeed, Mr. Shapiro admits that the mobile number would be
          21     “one of the factors” protecting account access and that the person who had control over
          22     his number also would have needed to “steal[] [his] password.” Compl. ¶ 120. Yet he
          23     pleads nothing about any of these issues, instead summarily alleging that the hackers
          24     used control over his phone number to transfer roughly $1.8 million from some portion
          25     of eleven different cryptocurrency accounts. Compl. ¶¶ 38, 39.
          26           Mr. Shapiro’s allegations raise far more questions than they answer. How did the
          27     hackers find out what Mr. Shapiro’s wireless number was or that he was an AT&T
          28     customer? How did the hackers know Mr. Shapiro had money stored in eleven different

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            1    cryptocurrency accounts, which cryptocurrency accounts he held, or what his user names
            2    or passwords were for those cryptocurrency accounts? What other information did the
            3    alleged hackers have that was used to access these accounts? How did hackers obtain
            4    that information? Did Mr. Shapiro’s cryptocurrency accounts require the user to answer
            5    a security question? Did he use the same password for all of his cryptocurrency
            6    accounts? Did he share his passwords with anyone else?
            7          Notably, Mr. Shapiro suggests that he stored copies of his “password and log-in
            8    information” online for various accounts. Compl. ¶ 86. But he does not identify the
            9    accounts to which this log-in information related or where it was stored. He also does
          10     not allege how the SIM swap led to the hackers’ possession of the passwords needed to
          11     steal any cryptocurrency—passwords AT&T never possessed and could not have
          12     divulged, and which Mr. Shapiro was solely responsible for securing. Mr. Shapiro’s
          13     allegations fail to plausibly plead an answer to the most basic question of whether the
          14     SIM swap was necessary at all, or whether other failures, such as Mr. Shapiro’s failure
          15     to properly safeguard his log-in information, provided the necessary access.
          16           Even more critically, the complaint is devoid of any reference to the type of
          17     authentication Mr. Shapiro’s accounts required.       Was he using simple password
          18     authentication to protect nearly $2 million dollars in his cryptocurrency accounts—
          19     password authentication that could be reset through a simple text message alone? Did
          20     his cryptocurrency accounts allow him to transfer nearly $2 million dollars at the click
          21     of a button? Or did the hackers have to jump through additional security hurdles before
          22     transferring such a large sum?
          23           These holes in Mr. Shapiro’s conclusory chain of causation defeat proximate
          24     cause as a matter of law under California case law. For example, in California v.
          25     Superior Court, the plaintiffs alleged that the Real Estate Commissioner had failed to
          26     investigate a claim for negligent supervision of a real estate agent. 150 Cal. App. 3d at
          27     852–53. That agent later stole funds belonging to the plaintiffs, and plaintiffs alleged
          28     that the failure to investigate was the proximate cause of their injuries. Id. The court

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            1    rejected this argument, finding that the “causal link” between the alleged negligence and
            2    the damages was “tenuous at best” because “several procedural steps” lay between the
            3    alleged negligence and the harm. Id. at 858–59. Even if the Commissioner had used
            4    reasonable care and discovered the agent’s wrongdoing, “there is no reasonable
            5    assurance that sanctions would have been imposed that would have prevented plaintiffs’
            6    subsequent losses.” Id. at 857; State Dep’t of State Hosps. v. Super. Ct., 61 Cal. 4th 339,
            7    355 (2015) (reaffirming State of Cal.).
            8          The recent decision of the Court of Appeal in Modisette v. Apple Inc., 30 Cal.
            9    App. 5th 136, 140 (2018), is similar. There, victims of an automobile crash sued Apple
          10     because the other driver was recklessly using FaceTime while driving, asserting that
          11     Apple was negligent in not equipping the iPhone 6 with a lockout feature. Id. But the
          12     court dismissed the complaint, concluding that the plaintiffs could not establish
          13     proximate cause. Id. at 152, 155. The court specifically noted that it did not “conclude
          14     here that [the driver’s] use of the iPhone while driving was unforeseeable.” Id. at 155.
          15     Instead, the court dismissed the complaint because it concluded that “the gap between
          16     Apple’s design of the iPhone and the [plaintiffs’] injuries is too great for the tort system
          17     to hold Apple responsible.” Id. (citing State Hosps., 61 Cal. 4th at 355–57).
          18           Similarly, in the related context of Article III standing, one court rejected similar
          19     allegations for failure to plead a causal connection between the defendant’s conduct and
          20     the plaintiff’s harm. Antman v. Uber Techs., Inc., 2015 WL 6123054, at *11 (N.D. Cal.
          21     Oct. 19, 2015). In Antman, the plaintiff alleged that the defendant disclosed his “name
          22     and drivers’ license information,” as well as “other personal information,” which
          23     hackers then used to “apply for the Capital One credit card.” Id. But the court dismissed
          24     the claim because the plaintiff had failed to plead how a “person could apply for a credit
          25     card without a social security number,” requiring the court to guess how the defendant’s
          26     alleged disclosure led to the plaintiff’s harm. Id. It reaffirmed that conclusion even after
          27     the plaintiff amended his pleadings to allege that his “bank account and routing number”
          28     were also stolen. Antman v. Uber Techs., Inc., 2018 WL 2151231, at *10 (N.D. Cal.

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            1    May 10, 2018); cf. In re Yahoo! Inc. Customer Data Sec. Breach Litig., 2017 WL
            2    3727318, at *19 (N.D. Cal. Aug. 30, 2017) (finding causal connection where purported
            3    data breach allegedly permitted hackers to learn the plaintiffs’ “names, email addresses,
            4    recovery email accounts, telephone numbers, birth dates, passwords, security questions
            5    and answers, and account ‘nonce’ (a cryptographic value unique to each account)”).
            6          At base, Mr. Shapiro factually alleges hackers gained control of his phone
            7    number, then offers a bald conclusion that such control enabled the hackers to learn his
            8    passwords or gain access to his cryptocurrency accounts. Comp. ¶¶ 40, 42. But he omits
            9    any factual allegations tying those events together or demonstrating how the alleged SIM
          10     swap (as opposed to other independent third-party acts, or his own negligence) is the
          11     thread that does so. Accordingly, Mr. Shapiro, like the plaintiff in Antman and unlike
          12     those in Yahoo!, has failed to plead the requisite direct causal chain between the
          13     allegedly disclosed information and the harm he allegedly suffered.
          14           2.     Mr. Shapiro’s Allegations Fail Because They Rely on Unforeseeable
          15                  Criminal Acts.
          16           Mr. Shapiro’s theory also fails because his harm depends on multiple
          17     “independent illegal acts of third parties.” O’Keefe v. Inca Floats, Inc., 1997 WL
          18     703784, at *4 (N.D. Cal. Oct. 31, 1997) (internal citation omitted). Such actions “are
          19     deemed unforeseeable and therefore, the sole proximate cause of the injury which
          20     excludes negligence of another as a cause of injury.” Id.; see also Jesse v. Malcmacher,
          21     2016 WL 9450683, at *10 (C.D. Cal. Apr. 5, 2016) (“The illegal acts of third parties are
          22     unforeseeable as a matter of law.”). As one California court observed, defendants “lack
          23     the legal or practical ability to control such criminal actions of third parties.” Martinez,
          24     225 Cal. App. 3d at 1569; see also Gregorian v. Nat’l Convenience Stores, Inc., 174 Cal.
          25     App. 3d 944, 947 (1985).
          26           Courts outside California have reached the same conclusion in similar
          27     circumstances. For example, in Citizens Bank of Pennsylvania v. Reimbursement Techs.,
          28     Inc., the plaintiff bank sued the defendant, a physician billing company, after one of the

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            1    defendant’s employees provided the financial information of 134 bank customers to a
            2    fraud ring over the course of nine months. 2014 WL 2738220, at *1 (E.D. Pa. June 17,
            3    2014), aff’d, 609 F. App’x 88 (3d Cir. 2015). Even though the defendant had a statutory
            4    duty to protect patient data, the court dismissed the plaintiff’s complaint for failure to
            5    allege proximate cause. Id. at *1–2. The plaintiff’s claim was “causally separated from
            6    plaintiff’s actual harm by multiple intervening acts of independent third parties,”
            7    including a rogue employee of the defendants, members of a third-party “fraud ring,”
            8    and “plaintiff’s own employees” who did not notice any fraudulent activity “until after
            9    the fact.” Id. at *5.
          10           Like the defendant in Citizens Bank, AT&T lacks the legal and practical ability to
          11     control criminal acts by sophisticated hackers. Even if AT&T’s security measures were
          12     inadequate, and AT&T denies they were, no theft would have occurred without, at a
          13     minimum, (1) an illegal SIM swap (2) by hackers who had information regarding Mr.
          14     Shapiro’s cryptocurrency accounts and holdings, who then (3) illegally hacked those
          15     accounts using (4) other identifying information about Mr. Shapiro that was required to
          16     execute the SIM swap, such as his wireless number and that he was an AT&T customer
          17     and (5) other confidential information about Mr. Shapiro’s cryptocurrency accounts
          18     (such as user names, passwords, and/or private wallet addresses). Mr. Shapiro has not
          19     alleged what independent, illegal acts occurred, much less pled facts suggesting AT&T
          20     is responsible for those acts or that those acts were foreseeable. Accordingly, Mr.
          21     Shapiro’s complaint should be dismissed in its entirety for failure to adequately allege
          22     proximate cause.
          23     B.    Mr. Shapiro’s Right to Privacy Claim Under the California Constitution
          24           Should Be Dismissed (Count III).
          25           To establish an invasion of privacy violation, a plaintiff must allege: “(1) a legally
          26     protected privacy interest; (2) a reasonable expectation of privacy under the
          27     circumstances; and (3) conduct by the defendant that amounts to a serious invasion of
          28     the protected privacy interest.” Low v. LinkedIn Corp., 900 F. Supp. 2d 1010, 1024

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            1    (N.D. Cal. 2012) (citing Hill v. Nat’l Collegiate Athletic Ass’n, 7 Cal. 4th 1, 35–37
            2    (1994)). The California Constitution sets “a high bar for an invasion of privacy claim.”
            3    Low, 900 F. Supp. 2d at 1025. Mr. Shapiro fails to meet this high bar.
            4          1.     Mr. Shapiro Does Not Plead an Egregious Breach of Social Norms.
            5          To establish an invasion of privacy violation, a plaintiff must allege that the
            6    defendant’s conduct is “sufficiently serious in [its] nature, scope, and actual or potential
            7    impact to constitute an egregious breach of the social norms underlying the privacy
            8    right.” Hill, 7 Cal. 4th at 37. The complaint falls far short.
            9           It is well-established that “negligent conduct” does not constitute “actionable
          10     conduct under the California Constitution,” even when it leads to “theft of highly
          11     personal information, including social security numbers.” In re iPhone Application
          12     Litig., 844 F. Supp. 2d 1040, 1063 (N.D. Cal. 2012); see also Low, 900 F. Supp. 2d at
          13     1025. For example, in In re iPhone Application Litigation, the defendant allegedly
          14     disclosed without consent “the unique device identifier number, personal data, and
          15     geolocation information” from the plaintiffs’ Apple devices. 844 F. Supp. 2d at 1050,
          16     1063. In their complaint, the plaintiffs alleged that this disclosure increased the risk that
          17     hackers would intercept “their personal information.” Id. at 1050. But the court
          18     dismissed the plaintiffs’ complaint, holding that “such disclosure does not constitute an
          19     egregious breach of social norms.” Id. at 1063.
          20             Similarly, in Ruiz v. Gap, Inc., the plaintiff submitted a job application to the
          21     defendant through a vendor the defendant used “for recruiting purposes.” 540 F. Supp.
          22     2d 1121, 1124 (N.D. Cal. 2008), aff’d, 380 F. App’x 689 (9th Cir. 2010). The application
          23     contained “personal information, including his social security number.” Id. Third
          24     parties then stole a laptop from the vendor, who did not use encryption to protect the
          25     plaintiff’s personal information. Id. at 1125. Despite noting that the plaintiff could
          26     pursue other claims, the court dismissed his constitutional right to privacy claim—he
          27     had merely alleged “increased risk of identity theft,” which did not “constitute an
          28     egregious breach” and therefore was not a violation of the “right to privacy.” Id. at 1128.

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            1          The same reasoning applies here. Mr. Shapiro alleges, at most, negligent conduct
            2    leading to an increased risk that hackers could access his personal cryptocurrency
            3    accounts—accounts that AT&T could not even access. Compl. ¶ 115. Throughout the
            4    complaint, Mr. Shapiro alleges nothing more than omissions—AT&T failed to
            5    “implement sufficient data security systems and procedures,” Compl. ¶ 5; “failed to
            6    protect,” Compl. ¶ 97; “failed to properly train,” Compl. ¶ 103; and “failed to take
            7    reasonable steps to protect Mr. Shapiro’s CPNI,” Compl. ¶ 108. Such alleged omissions
            8    are not actionable under the California Constitution’s right to privacy.
            9          2.     Mr. Shapiro Does Not Specifically Allege What Information AT&T
          10                  Disclosed.
          11           Mr. Shapiro’s invasion of privacy claim fails for another reason—he fails to
          12     specifically allege what private information AT&T disclosed. To plead a constitutional
          13     violation, a plaintiff must plead with specificity the exact information disclosed.
          14     Without the required specificity, a court cannot determine whether the plaintiff had a
          15     protected privacy interest in the disclosed information. See Sunbelt Rentals, Inc. v.
          16     Victor, 43 F. Supp. 3d 1026, 1034 (N.D. Cal. 2014).
          17           The Court’s decision in In re Yahoo Mail Litigation, 7 F. Supp. 3d 1016 (N.D.
          18     Cal. 2014), is instructive. In that case, the plaintiffs pled that the defendant “intercepted
          19     [their] emails, scanned and stored their content, and distributed the content to third
          20     parties without Plaintiffs’ consent.” Id. at 1039. The plaintiffs argued that they had a
          21     reasonable expectation of privacy in their email. Id. at 1040. The court dismissed the
          22     claims because it concluded that courts only “found a protected privacy interest in the
          23     context of email communications” where “the plaintiff alleged with specificity the
          24     material in the content of the email.” Id.; see also Sunbelt Rentals, 43 F. Supp. 3d at
          25     1035 (finding no “reasonable expectation of privacy” in text messages where the
          26     “pleadings do not identify the contents of any particular text messages”).
          27           Other courts have dismissed similarly vague allegations. For example, a plaintiff
          28     did not adequately plead a claim when she pled that the defendants disclosed her “private

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            1    information” during a credit check, but did “not identify exactly what private
            2    information defendants . . . [allegedly] disclosed in relation to the credit checks.”
            3    Zbitnoff v. Nationstar Mortg., LLC, 2014 WL 1101161, at *4 (N.D. Cal. Mar. 18, 2014);
            4    see also Belluomini v. Citigroup, Inc., 2013 WL 3855589, at *7 (N.D. Cal. July 24,
            5    2013) (disclosure of “Plaintiffs’ contact information.”). Similarly, the allegation that a
            6    defendant disclosed the plaintiff’s “financial information,” “without greater explanation,
            7    does not necessarily satisfy the high threshold required by California law.” Albin v.
            8    Trustmark Ins. Co., 2013 WL 12191722, at *10 (C.D. Cal. Nov. 25, 2013).
            9          Mr. Shapiro’s allegations about his allegedly disclosed information are precisely
          10     the type of generic, non-specific allegation that courts have rejected. As an initial matter,
          11     although Mr. Shapiro at one point alleges AT&T allowed its “employees and third
          12     parties” to improperly access Mr. Shapiro’s confidential AT&T account information,
          13     Compl. ¶ 200, in other places he makes clear that it is only the supposed employees that
          14     viewed that account information.2 Compl. ¶ 94. This follows because a SIM swap does
          15     not provide any such account information—it simply transfers control over a phone
          16     number. Compl. ¶ 22. Even as to the information that Mr. Shapiro alleges AT&T’s
          17     supposed “employees” viewed, his complaint does not include the required specificity.
          18     Instead, Mr. Shapiro alleges only that those “employees” were able to view “information
          19     about the configuration, type, and use of his subscribed AT&T services, his personal
          20     information, his SIM card details, and his billing information.” Compl. ¶ 94. Each of
          21     these categories is indistinguishable from the type of information that courts have found
          22     insufficient to state a claim. See, e.g., Sunbelt Rentals, 43 F. Supp. 3d at 1035 (text
          23     messages); Albin, 2013 WL 12191722, at *10 (financial information); Zbitnoff, 2014
          24     WL 1101161, at *4 (“private information”).
          25
          26
                 2
                   In fact, Robert Jack and Jarratt White, whom Mr. Shapiro alleges were responsible for
          27     the alleged SIM swaps, were not employees of AT&T, but were affiliated with an
                 independent company, Synchronoss/STI, that provides AT&T service. Although Mr.
          28     Shapiro refers to the men as employees, he appears to know otherwise, as he uses the
                 vague term “contract employee” to describe their status. Compl. ¶ 47 n.11.
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            1          Because Mr. Shapiro fails to plead the information allegedly revealed at the
            2    required level of specificity to plausibly plead a reasonable expectation of privacy, his
            3    claim must be dismissed.
            4    C.    Mr. Shapiro’s Claims for Negligence and Negligent Supervision and
            5          Entrustment (Counts IV and V) Should Be Dismissed.
            6          1.     The Economic Loss Doctrine Bars Mr. Shapiro’s Negligence and
            7                 Negligent Supervision and Entrustment Claims.
                       Mr. Shapiro’s negligence claims are barred by the economic loss doctrine. Body
            8
                 Jewelz, Inc. v. Valley Forge Ins. Co., 241 F. Supp. 3d 1084, 1091–94 (C.D. Cal. 2017).
            9
                 The “fundamental rule in California is that no tort cause of action will lie where the
          10
                 breach of duty is nothing more than a violation of a promise which undermines the
          11
                 expectations of the parties to an agreement.” Oracle USA, Inc. v. XL Glob. Servs., Inc.,
          12
                 2009 WL 2084154, at *4 (N.D. Cal. July 13, 2009); see also Kalitta Air, LLC v. Cent.
          13
                 Tex. Airborne Sys., Inc., 315 F. App’x 603, 605 (9th Cir. 2008). The economic loss rule
          14
                 “requires a purchaser to recover in contract for purely economic loss due to disappointed
          15
                 expectations, unless he can demonstrate harm above and beyond a broken contractual
          16
                 promise.” Robinson Helicopter Co. v. Dana Corp., 34 Cal. 4th 979, 988 (2004).
          17
                       Mr. Shapiro’s negligence and negligent entrustment and supervision claims assert
          18
                 only that AT&T’s security measures were inferior to what AT&T promised through
          19
                 alleged contracts with Mr. Shapiro. Compl. ¶¶ 151, 166, 209. Mr. Shapiro’s claims are
          20
                 thus “purported tort claims related to the performance of a contract” and “are viable only
          21
                 where ‘the duty that gives rise to tort liability is either completely independent of the
          22
                 contract or arises from conduct which is both intentional and intended to harm.’”
          23
                 Audigier Brand Mgmt. v. Perez, 2012 WL 5470888, at *5 (C.D. Cal. Nov. 5, 2012)
          24
                 (quoting Robinson, 34 Cal. 4th at 988) (emphasis in original). Mr. Shapiro has not pled
          25
                 facts to fall within either of these categories.
          26
                       Courts in the Ninth Circuit routinely dismiss negligence claims under the
          27
                 economic loss rule. For example, in Body Jewelz, the plaintiff sued the defendant, a
          28

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            1    website administrator, after the plaintiff’s website crashed. 241 F. Supp. 3d at 1091–94.
            2    The court dismissed the claim without leave to amend under the economic loss doctrine
            3    because the plaintiff alleged “only economic loss in connection with its negligence
            4    claim.” Id. at 1092, 1094; see also Hammond Enters. Inc. v. ZPS Am. LLC, 2013 WL
            5    5814505, at *7–8 (N.D. Cal. Oct. 29, 2013) (dismissing tort claims with prejudice under
            6    economic loss rule); Tasion Commc’ns, Inc. v. Ubiquiti Networks, Inc., 2013 WL
            7    4530470, at *9 (N.D. Cal. Aug. 26, 2013) (gathering cases where tort claims were
            8    dismissed on the basis of the economic loss rule).
            9          Courts construing California law have repeatedly applied the economic loss
          10     doctrine to dismiss data breach allegations.3 For example, in In re Sony Gaming
          11     Networks & Customer Data Security Breach Litigation, the court addressed a negligence
          12     claim based on a large-scale data breach. 996 F. Supp. 2d 942 (S.D. Cal. 2014). There,
          13     like here, the plaintiffs’ complaint centered largely on the defendant’s detailed privacy
          14     policy. Id. at 976. But the court dismissed the tort claims under the economic loss
          15     doctrine—the plaintiffs’ claims were based on nothing more than “everyday consumer
          16     transactions, and therefore, negligence [was] the wrong legal theory on which to pursue
          17     recovery for Plaintiffs’ economic losses.” Id. at 969. Similarly, in In re Target Corp.
          18     Data Security Breach Litigation, the court addressed a negligence claim in “one of the
          19     largest breaches of payment-card security in United States retail history.” 66 F. Supp.
          20     3d 1154, 1157 (D. Minn. 2014). Despite the large-scale harm done in Target, the court
          21     dismissed the plaintiffs’ claims under the economic loss doctrine because any alleged
          22     harm came from disappointed “commercial expectations.” Id. at 1171–72.
          23           Mr. Shapiro’s negligence claims are squarely foreclosed by this precedent. He
          24     sues for negligence on the basis of an alleged contract, AT&T’s Privacy Policy. Compl.
          25
          26     3
                    See, e.g., Gordon v. Chipotle Mexican Grill, Inc., 344 F. Supp. 3d 1231, 1246 (D.
                 Colo. 2018) (dismissing a data-breach claim based on the economic loss doctrine);
          27     Castillo v. Seagate Tech., LLC, 2016 WL 9280242, at *6 (N.D. Cal. Sept. 14, 2016)
                 (same); In re iPhone Application Litig., 844 F. Supp. 2d at 1064 (relying on the
          28     economic loss doctrine to dismiss a claim for “unreasonable risk to the security of
                 sensitive personal information”).
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            1    ¶ 151. Because the economic loss rule bars his tort claims, this Court should dismiss
            2    those claims.
            3           2.     The Special Relationship Exception Is Not Available Because AT&T
            4                  and Mr. Shapiro Are in Direct Contractual Privity.
            5           Because AT&T and Mr. Shapiro are in direct contractual privity, the “special
            6    relationship” exception to the economic loss rule that applies in certain circumstances
            7    where the parties lack contractual privity does not save Mr. Shapiro’s claims. The
            8    special relationship exception arose in J’Aire v. Gregory, 24 Cal. 3d 799 (1979). In
            9    J’Aire, the plaintiff sued in negligence for damages suffered as a result of negligent
          10     performance of a contract that defendant had entered with a third party, to which the
          11     plaintiff was found not to be a third-party beneficiary. The Court held that “[w]here a
          12     special relationship exists between the parties, a plaintiff may recover for loss of
          13     expected economic advantage through the negligent performance of a contract although
          14     the parties were not in contractual privity.” J’Aire, 24 Cal. 3d at 804. The Court
          15     considered six factors to decide whether the relationship between the parties was such
          16     that the plaintiff, although not a party to the contract, should have a remedy for the
          17     defendant’s negligence: “(1) the extent to which the transaction was intended to affect
          18     the plaintiff, (2) the foreseeability of harm to the plaintiff, (3) the degree of certainty that
          19     the plaintiff suffered injury, (4) the closeness of the connection between the defendant’s
          20     conduct and the injury suffered, (5) the moral blame attached to the defendant's conduct
          21     and (6) the policy of preventing future harm.” J’Aire, 24 Cal. 3d at 804.
          22            As courts in this district have noted, “[e]ven the most cursory review of J’Aire’s
          23     six-factor test reveals that it was not intended for application to parties in privity.” Body
          24     Jewelz, Inc., 241 F. Supp. 3d at 1093; see also Elsayed v. Maserati N. Am., Inc., 215 F.
          25     Supp. 3d 949, 963 (C.D. Cal. 2016). While courts have adopted inconsistent approaches
          26     to whether its test can nonetheless be applied where a plaintiff in contractual privity
          27     seeks to circumvent the economic loss rule, the better-reasoned cases limit J’Aire to
          28     circumstances where the parties are not in contractual privity. Where there is contractual

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            1    privity, a plaintiff has the option of a breach of contract suit, and nonetheless permitting
            2    that plaintiff to file a tort claim would eviscerate the economic loss rule.
            3          Both J’Aire and Biakanja v. Irving, 49 Cal. 2d 647 (1958), on which it relies, deal
            4    with a plaintiff who was not in privity of contract with the defendant. See J’Aire, 24
            5    Cal. 3d at 802–804; Biakanja, 49 Cal. 2d at 651; see also R Power Biofuels, LLC v.
            6    Chemex LLC, 2016 WL 6663002, at *5 (N.D. Cal. Nov. 11, 2016) (“By their terms,
            7    J’aire and Biakanja only apply where the parties are not in direct contractual privity.”).
            8    Biakanja did not explicitly discuss the economic loss rule at all, instead addressing the
            9    question of whether the relationship between the plaintiff and the defendant was such
          10     that “defendant was under a duty to exercise due care to protect plaintiff from injury and
          11     was liable for damage caused plaintiff by his negligence even though they were not in
          12     privity of contract.” 49 Cal. 2d at 648.
          13           To apply the same “special relationship” exception that allows a party with no
          14     contractual rights to sue for negligence to a party with contractual rights would create an
          15     exception that swallows the rule. After all, directly contracting parties always have a
          16     relationship—a contractual one—which would lead to the over-designation of
          17     relationships as “special” under the J’Aire test. Body Jewelz, 241 F. Supp. 3d at 1093.
          18     This outcome is not what the J’Aire court intended and is entirely at odds with the
          19     “special relationship” exception’s characterization as a “narrow” or “limited” exception.
          20     Id.; Zamora v. Shell Oil Co., 55 Cal. App. 4th 204, 211 (1997).
          21           Public policy also favors narrow application of the special relationship exception.
          22     If the Court allows parties to recover under tort law for a breach of contract claim, it will
          23     undermine the “predictability” that parties seek when contracting in our “commercial
          24     system.” Foley v. Interactive Data Corp., 47 Cal. 3d 654, 683 (1988). There is no
          25     reason for expanding “potential tort liability under the six-factor test to commercial
          26     parties that have negotiated their own contractual obligations.” Dep’t of Water & Power
          27     of L.A. v. ABB Power T&D Co., 902 F. Supp. 1178, 1189 (C.D. Cal. 1995); see also Oki
          28     Am., Inc. v. Microtech Int’l, Inc., 872 F.2d 312, 316 (9th Cir. 1989) (Kozinski, J.,

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            1    concurring). The purposes underlying the economic loss rule strongly counsel against
            2    expanding it to parties in contractual privity.
            3           3.     Even if the Special Relationship Exception Is Available, Mr. Shapiro
            4                  Does Not Adequately Plead It.
            5           In the complaint, Mr. Shapiro has summarily pled that he had a special
            6    relationship with AT&T, Compl. ¶ 213, but he does not address any of the six J’Aire
            7    factors. The facts that he pleads are insufficient to plausibly allege a special relationship
            8    in the context of two parties in privity.
            9           With regard to the first factor—the extent to which the transaction was intended
          10     to affect the plaintiff—Mr. Shapiro did not allege how the transaction was intended to
          11     affect him “in any way particular to him, as opposed to all potential” consumers.
          12     Greystone Homes, Inc. v. Midtec, Inc., 168 Cal. App. 4th 1194, 1229 (2008) (holding
          13     that the “J’Aire test was not met because the sink sales at issue were like any other sink
          14     sale made by the product manufacturer—i.e., the product manufacturer had not specially
          15     made the sink for the benefit of the [plaintiffs]”). In Ott v. Alfa–Laval Agri, Inc., 31 Cal.
          16     App. 4th 1439, 1455 (1995), in applying the J’Aire test to a claim, the California Court
          17     of Appeal observed that the plaintiffs had not pled that the product at issue “was
          18     ‘intended to affect’ the plaintiffs in any way particular to the plaintiffs, as opposed to all
          19     potential purchasers of the equipment.” Id. at 1455. The Court held that “[t]he absence
          20     of this foundation precludes a finding of ‘special relationship’ as required by J’Aire.”
          21     Id. at 1455–56. In other words, where parties are in contractual privity, a relationship
          22     could only be “special,” if the test is to be applied at all, if the plaintiff can plead that the
          23     defendant developed the services at issue for his “specific benefit, above and beyond
          24     what was offered to all consumers.” In re Sony Gaming Networks, 996 F. Supp. 2d at
          25     972. Mr. Shapiro has pled no facts to meet this standard.
          26            With regard to the second factor—the foreseeability of harm—Mr. Shapiro
          27     alleges that the theft of his cryptocurrency was foreseeable. But, as noted above,
          28     numerous cases have held that the “illegal acts of third parties are unforeseeable as a

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            1    matter of law.” See, e.g., Jesse, 2016 WL 9450683, at *10. Further, given Mr. Shapiro’s
            2    conspicuous failure to plausibly allege a number of critical details regarding the chain
            3    of events that ultimately led to his purported losses, he has necessarily deprived AT&T
            4    and the Court of any means to assess whether this harm was foreseeable.
            5          The third factor—the degree of certainty that the defendant caused the plaintiff’s
            6    harm—is no better for Mr. Shapiro. This factor turns on whether AT&T’s actions
            7    proximately caused hackers to steal Mr. Shapiro’s cryptocurrency. In re Sony Gaming
            8    Networks, 996 F. Supp. 2d at 972 (using proximate cause to analyze “the degree of
            9    certainty that [defendant’s] conduct” caused plaintiff’s harm). But, as discussed above,
          10     AT&T’s alleged actions did not proximately cause the theft of Mr. Shapiro’s
          11     cryptocurrency. See Aas v. Super. Ct., 24 Cal. 4th 627, 646 (2000) (under third J’Aire
          12     factor and holding that, without proximate causation, “it is difficult to imagine what
          13     other factors, singly or in combination, might justify the court in finding liability”).
          14           The same reasoning applies to the fourth factor—the closeness of the connection
          15     between the defendant’s conduct and the injury suffered. Mr. Shapiro alleges no
          16     connection between AT&T and the third-party hackers, no connection between AT&T
          17     and the security required to access his cryptocurrency accounts, and no connection
          18     between AT&T and any of the accounts the hackers accessed. Supra Section IV.A.
          19           The fifth factor—the moral blame attached to the defendant’s conduct—also
          20     favors a finding of no special relationship. Courts generally only attach moral blame to
          21     a defendant’s conduct when it is “reckless or purposeful.” Mega RV Corp. v. HWH
          22     Corp., 225 Cal. App. 4th 1318, 1342 (2014) (no moral blame in absence of “reckless or
          23     purposeful behavior”). Mr. Shapiro does not allege that AT&T’s conduct was reckless
          24     or purposefully designed to permit SIM swaps, much less thefts of customer property.
          25           Finally, the sixth factor—the policy of preventing future harm—favors AT&T,
          26     which already has strong incentives to avoid fraudulent SIM swaps. Similarly, AT&T
          27     has existing incentives to maintain its “relationship with retail buyers, [limit its] financial
          28     liability, [and protect its] reputation” by continuing to work to improve its security. Id.

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            1    at 1342. Absent a “special relationship,” Mr. Shapiro’s negligence and negligent
            2    supervision and entrustment claims should be dismissed under the economic loss rule.
            3    D.    Mr. Shapiro’s CLRA Claim (Count VI) Should Be Dismissed.
            4          1.     Mr. Shapiro Fails To Plead Actual Reliance.
            5          To state a claim under the CLRA, the plaintiff must plead “actual reliance” on the
            6    defendant’s misrepresentation or omission. See, e.g., Backhaut v. Apple, Inc., 74 F.
            7    Supp. 3d 1033, 1047–48 (N.D. Cal. 2014); see also Durell v. Sharp Healthcare, 183 Cal.
            8    App. 4th 1350, 1367 (2010) (affirming dismissal of a CLRA claim for failure to plead
            9    “reliance”); Sateriale v. R.J. Reynolds Tobacco Co., 697 F.3d 777, 794 (9th Cir. 2012)
          10     (requiring the plaintiff to plead actual reliance on a CLRA fraud claim); Hall v. Time
          11     Inc., 158 Cal. App. 4th 847, 857 (2008) (same). To adequately allege reliance, a plaintiff
          12     must, at a minimum, allege that he reviewed the alleged misrepresentation or omission.
          13     See Rojas-Lozano v. Google, Inc., 159 F. Supp. 3d 1101, 1114 (N.D. Cal. 2016).
          14           In numerous cases, courts have dismissed CLRA claims because the plaintiff
          15     failed to allege that he reviewed the allegedly deceptive material. For example, in In re
          16     Sony Gaming Networks, the court dismissed a CLRA claim because the defendant’s
          17     alleged misrepresentations came after the “Plaintiffs had already purchased or otherwise
          18     acquired their consoles.” 903 F. Supp. 2d at 969. Reliance was therefore “impossible.”
          19     Id. at 970. Similarly, in Handy v. LogMeIn, Inc., the plaintiff set forth the “Defendant’s
          20     advertisements” in the body of his complaint, but he did not “allege that he saw these
          21     [advertisements] before he purchased the [product] or that he relied upon them.” 2015
          22     WL 4508669, at *8 (E.D. Cal. July 24, 2015). This failure was “fatal to his claim.” Id.
          23     And in Ehrlich v. BMW of N. Am., LLC, the court dismissed a CLRA claim because the
          24     plaintiff did not adequately plead reliance. The court held that the complaint did not
          25     allege that the plaintiff reviewed “any brochure, website, or promotional material”
          26     before making his purchase. 801 F. Supp. 2d 908, 919 (C.D. Cal. 2010). Countless
          27
          28

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            1    other cases reach the same result.4
            2          Here, Mr. Shapiro never pleads that he had read, seen, or heard any of AT&T’s
            3    alleged representations when he decided to contract with AT&T. Mr. Shapiro alleges
            4    “AT&T represented that, in purchasing AT&T mobile service and using AT&T-
            5    compatible phones, Mr. Shapiro’s confidential data would be safeguarded and
            6    protected.” Compl. ¶ 241. He also pleads that “a reasonable person would attach
            7    importance to the privacy of his sensitive account data in determining whether to
            8    contract with a mobile phone provider.” Compl. ¶ 243. These allegations neither
            9    mention a specific representation by AT&T nor suggest that that Mr. Shapiro reviewed
          10     any alleged misrepresentations. Mr. Shapiro cannot “act in reliance on a statement” he
          11     did “not see, read, or hear.” In re iPhone Application Litig., 6 F. Supp. 3d 1004, 1022
          12     (N.D. Cal. 2013).
          13           Mr. Shapiro also has not plausibly alleged that, even if he reviewed AT&T’s
          14     statements regarding its security, he relied on those statements to conclude that he was
          15     protected from the type of SIM swap that he alleged occurs here. To the contrary, in the
          16     Privacy Policy that Mr. Shapiro attaches to his complaint, AT&T specifically disclosed
          17     that “no security measures are perfect” and AT&T “cannot guarantee that your Personal
          18     Information will never be disclosed in a manner inconsistent with this Policy (for
          19     example, as the result of unauthorized acts by third parties that violate the law or this
          20     Policy).” Compl., Ex. C at 26; cf. Clayton v. Landsing Pac. Fund, Inc., 2002 WL
          21     1058247, at *6 (N.D. Cal. May 9, 2002) (no claim for fraudulent concealment where
          22     defendants “actually disclosed the information . . . plaintiff [alleged] was kept secret
          23     from her”) (emphasis in original), aff’d, 56 F. App’x 379 (9th Cir. 2003). Indeed, what
          24
          25
                 4
                   See, e.g., In re Yahoo! Inc. Customer Data Sec. Breach Litig., 2017 WL 3727318, at
          26     *28 (“Plaintiffs do not allege that they ‘actually read’ Defendants’ Terms of Service, let
                 alone that Plaintiffs ‘actually read’ the separate Privacy Policy containing the alleged
          27     misrepresentation at issue”); Rojas-Lozano, 159 F. Supp. 3d at 1114 (similar); In re
                 LinkedIn User Privacy Litig., 932 F. Supp. 2d 1089, 1093 (N.D. Cal. 2013) (“Plaintiffs
          28     do not even allege that they actually read the alleged misrepresentation—the Privacy
                 Policy—which would be necessary to support a claim of misrepresentation.”).
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            1    Mr. Shapiro alleges happened to him is exactly what AT&T disclosed could happen—
            2    unauthorized hackers violated the law by bribing a third party who also broke the law,
            3    giving the hackers control over Mr. Shapiro’s telephone number.
            4           Because Mr. Shapiro neither pleads that he read, reviewed, saw, or heard any of
            5    the alleged misrepresentations or omissions in the complaint, nor plausibly pleads that
            6    he relied on AT&T’s statements to conclude that his account was fully protected, his
            7    CLRA claim must be dismissed.
            8          2.     All of the Alleged Misrepresentations Occurred After Mr. Shapiro’s
            9                 Transaction with AT&T.
          10           As noted above, the CLRA protects consumers from deceptive practices that are
          11     “intended to result or which result[ ] in the sale or lease of goods or services.” Cal. Civ.
          12     Code § 1780(a). “By definition, the CLRA does not apply to unfair or deceptive
          13     practices that occur after the sale or lease has occurred.” Moore v. Apple, Inc., 73 F.
          14     Supp. 3d 1191, 1201 (N.D. Cal. 2014). Accordingly, a plaintiff cannot base his CLRA
          15     claim on “events following a sales transaction.” Durkee v. Ford Motor Co., 2014 WL
          16     4352184, at *3 (N.D. Cal. Sept. 2, 2014).
          17           Here, Mr. Shapiro points to one document that he alleges contains
          18     misrepresentations and omissions: AT&T’s Privacy Policy, a document revised in
          19     February of 2019. Compl. ¶ 151, Exh. C. Mr. Shapiro alleges that he decided to contract
          20     with AT&T in 2006, and the complaint does not allege that he renewed his services at
          21     any other point. Compl. ¶ 10. The 2019 document clearly did not influence Mr.
          22     Shapiro’s 2006 choice of AT&T. See Daugherty v. Am. Honda Motor Co., Inc., 144
          23     Cal. App. 4th 824, 837 n.6 (2006) (“In any event, those representations, such as they
          24     were, occurred in 2000 and 2001, not at the time of sale [nearly a decade earlier].”);
          25     Hensley–Maclean v. Safeway, Inc., 2014 WL 1364906, at *6 (N.D. Cal. Apr. 7, 2014)
          26     (“[T]he CLRA only applies to representation and omissions that occur during pre-sale
          27     transactions.”). This provides an additional basis to dismiss Mr. Shapiro’s CLRA claim.
          28

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            1          3.     Mr. Shapiro Fails To Plead that He Provided the Required Written
            2                 Notice.

            3          The CLRA requires that written notice be provided to the seller at least thirty days

            4    prior to commencement of an action seeking damages. Cal. Civ. Code § 1782(a);

            5    Sanbrook v. Office Depot, Inc., 2008 WL 1994884, at *3 (N.D. Cal. May 5, 2008).

            6    Written notice is “necessary to state a claim.” Cattie v. Wal-Mart Stores, Inc., 504 F.

            7    Supp. 2d 939, 949 (S.D. Cal. 2007); Outboard Marine Corp. v. Super. Ct., 52 Cal. App.

            8    3d 30, 41 (Ct. App. 1975) (requiring “literal application of the notice provisions”). And

            9    courts routinely dismiss CLRA claims with prejudice for failure to provide such notice.

          10     See, e.g., Stearns v. Select Comfort Retail Corp., 2009 WL 1635931, at *15 (N.D. Cal.

          11     June 5, 2009); Cattie, 504 F. Supp. 2d at 950; Laster v. T-Mobile USA, Inc., 407 F. Supp.

          12     2d 1181, 1195 (S.D. Cal. 2005), aff’d, 252 F. App’x 777 (9th Cir. 2007).

          13           Mr. Shapiro nowhere alleges that he provided written notice of his CLRA claim,

          14     yet seeks damages for it. Compl. ¶¶ 237–47. His claim should be dismissed.

          15     E.    Mr. Shapiro’s Claim Under The Computer Fraud and Abuse Act (Count
                       VII) Should Be Dismissed for Failure To Plead a Qualifying Loss.
          16
                       A plaintiff alleging a violation of the CFAA can bring “a civil action against the
          17
                 violator . . . only if the conduct involves” one of five categories set forth in 18 U.S.C.
          18
                 § 1030(c)(4)(A)(i). 18 U.S.C. § 1030(g). Subclause (I) of subsection (c)(4)(A)(i), the
          19
                 only subclause even arguably relevant to this case, requires the plaintiff to plead a “loss
          20
                 to 1 or more persons during any 1–year period . . . aggregating at least $5,000 in value.”
          21
                 Id. § 1030(c)(4)(A)(i)(I). The CFAA defines “loss” as “any reasonable cost to any
          22
                 victim, including the cost of responding to an offense, conducting a damage assessment,
          23
                 and restoring the data, program, system, or information to its condition prior to the
          24
                 offense, and any revenue lost, cost incurred, or other consequential damages incurred
          25
                 because of interruption of service.” 18 U.S.C. § 1030(e)(11). Courts have repeatedly
          26
                 observed that the type of losses contemplated by the CFAA are “the remedial costs of
          27
                 investigating a computer for damage, remedying damage done, and costs incurred while
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            1    the computer is inoperable.” Clinton Plumbing & Heating of Trenton, Inc. v. Ciaccio,
            2    2010 WL 4224473, *6 (E.D. Pa. Oct. 22, 2010). On the other hand, costs unrelated to
            3    computer impairment or damages—such as a party “stealing money via ACH
            4    transfers”—are “not the type of ‘loss’ contemplated by CFAA” and “not a loss for which
            5    the CFAA provides a civil remedy.” Clinton Plumbing & Heating of Trenton, Inc. v.
            6    Ciaccio, 2011 WL 6088611, at *5 (E.D. Pa. Dec. 7, 2011).
            7          Mr. Shapiro pleads only that he “spent in excess of $5,000 investigating who
            8    accessed his mobile device and damaged information on it.” Compl. ¶ 255. Cases
            9    uniformly reject this type of conclusory allegation. For example, in one case, the
          10     plaintiff alleged that it “suffered damages and loss . . . including, without limitation,
          11     harm to [its] data and/or computer(s) and other losses and damages in an amount to be
          12     proven at trial, but in any event, over $5000 aggregated over a one-year period.”
          13     DocMagic, Inc. v. Ellie Mae, Inc., 745 F. Supp. 2d 1119, 1150 (N.D. Cal. 2010). The
          14     court dismissed the claim because this allegation “verge[d] on the type of conclusory,
          15     formulaic recitation of the elements of a cause of action, that Iqbal and Twombly require
          16     a court to disregard.” Id. (internal quotation marks and citations omitted). In another
          17     case, the plaintiff alleged that it “suffered impairment to the integrity or availability of
          18     its data, programs, systems, and information resulting in losses or damages in excess of
          19     $5000 during a one year period.” Oce N. Am., Inc. v. MCS Servs., Inc., 748 F. Supp. 2d
          20     481, 488 (D. Md. 2010). That court also dismissed the CFAA claim, holding that the
          21     plaintiff’s loss allegation was “merely a conclusory statement and thus [did] not
          22     sufficiently plead the $5000 minimum damages requirement to bring suit under the
          23     CFAA.” Id.; see also Fabreeka Int’l Holdings, Inc. v. Haley, 2015 WL 7253019, at *5
          24     (E.D. Mich. Nov. 17, 2015) (dismissing as conclusory the plaintiff’s allegation that it
          25     suffered “theft of confidential information and other losses and damage in an amount to
          26     be proved at trial, but, in any event, in an amount well over $5000 aggregated”).
          27           The shortcomings of Mr. Shapiro’s conclusory allegations are even more apparent
          28     when contrasted with allegations deemed sufficient in other cases. For example, one

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            1    court held that a plaintiff adequately pled loss when it alleged that it analyzed “which
            2    restricted environments had been accessed (to determine the extent of breach),” collected
            3    and analyzed “IP addresses accessing Plaintiff’s network, to determine whether access
            4    was internal or hostile (to determine the appropriate response),” and reviewed “logs of
            5    documented users to confirm conclusions.” SuccessFactors, Inc. v. Softscape, Inc., 544
            6    F. Supp. 2d 975, 980 (N.D. Cal. 2008). Similarly, a plaintiff sufficiently alleged loss
            7    when its complaint detailed the steps taken in an internal investigation and the results of
            8    that investigation. Teva Pharm. USA, Inc. v. Sandhu, 291 F. Supp. 3d 659, 674 (E.D.
            9    Pa. 2018); see also Carnegie Strategic Design Eng’rs v. Cloherty, 2014 WL 896636, at
          10     *4 (W.D. Pa. Mar. 6, 2014) (denying motion to dismiss when plaintiff alleged loss from
          11     retaining a computer forensic expert to investigate and mitigate defendant’s data breach).
          12           Mr. Shapiro’s CFAA loss allegation comes nowhere near the allegations in these
          13     cases. While he alleges that he spent in excess of $5,000 “investigating who accessed
          14     his mobile device,” he does not indicate what steps he took, the costs or timing of those
          15     steps, or the results of any investigation. Mr. Shapiro’s failure to allege additional facts
          16     suggests that “no such damage existed and that [Mr. Shapiro] cannot meet [his] pleading
          17     burden.” Advantage Ambulance Grp., Inc. v. Lugo, 2009 WL 839085, at *4 (E.D. Pa.
          18     Mar. 30, 2009) (dismissing a CFAA claim because the plaintiff did not plead “whether
          19     or not any measures had to be taken to remedy any damage done to their computer
          20     system or to protect themselves from having this alleged injury occur again in the
          21     future”). Mr. Shapiro’s CFAA claim should be dismissed.
          22     F.    Mr. Shapiro’s Request for Punitive Damages Should Be Stricken.
          23           Mr. Shapiro requests punitive damages for Counts III and VI and in his general
          24     prayer for relief. Compl. ¶¶ 206, 247, 256. Even if Mr. Shapiro had stated a plausible
          25     claim for relief on either of those Counts, he has not pled an entitlement to punitive
          26     damages. Punitive damages are “disfavored by the law,” Kelley v. Corr. Corp. of Am.,
          27     750 F. Supp. 2d 1132, 1147 (E.D. Cal. 2010), and available only upon clear and
          28     convincing evidence that defendant’s conduct is “so vile, base, contemptible, miserable,

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            1    wretched or loathsome that it would be looked down upon and despised by ordinary
            2    decent people” or “[having] the character of outrage frequently associated with crime.”
            3    Tomaselli v. Transamerica Ins. Co., 25 Cal. App. 4th 1269, 1287 (1994) (internal
            4    citation and quotation marks omitted).
            5          California law holds that punitive damages may only be awarded against an entity
            6    defendant based on the entity’s “own wrongful conduct.” Weeks v. Baker & McKenzie,
            7    63 Cal. App. 4th 1128, 1154 (1998). To hold an entity liable for punitive damages based
            8    upon the acts of an employee, the plaintiff must prove, by clear and convincing evidence,
            9    that an “officer, director or managing agent” of the entity either: (1) had advance
          10     knowledge of the unfitness of the fraudulent, malicious or oppressive employee and
          11     employed him or her with a knowing disregard of the rights or safety of others; or (2)
          12     committed, ratified, or authorized the fraudulent, malicious or oppressive conduct. Cal.
          13     Civ. Code § 3294(b). Managing agents are employees who “exercise[] substantial
          14     discretionary authority over decisions that ultimately determine corporate policy.” Cruz
          15     v. HomeBase, 83 Cal. App. 4th 160, 167 (2000) (alteration and emphasis in original)
          16     (quoting White v. Ultramar, Inc., 21 Cal. 4th 563, 577 (1999)). Confining liability in
          17     this way “avoids punishing the corporation for malice of low-level employees which
          18     does not reflect the corporate ‘state of mind’ or the intentions of corporate leaders.”
          19     Cruz, 83 Cal. App. 4th at 167; see also White, 21 Cal. 4th at 569.
          20           Here, Mr. Shapiro failed to allege that any “officer, director or managing agent”
          21     of AT&T knew about—much less committed, ratified, or authorized—any of the actions
          22     about which Mr. Shapiro complains. The only alleged AT&T employees Mr. Shapiro
          23     mentions by name are Robert Jack and Jarratt White, both of whom Mr. Shapiro seems
          24     to acknowledge were not employed by AT&T, but were affiliated with an independent
          25     company that provides AT&T services. See supra n.2. Mr. Shapiro does not—and
          26     cannot in good faith—allege that AT&T knew about or approved any alleged improper
          27     action by Jack or White. If anything, Mr. Shapiro can only allege that their alleged
          28     actions were “unauthorized” and against company policy. Compl. ¶¶ 47 n.11, 51. Mr.

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            1    Shapiro therefore has not pled a claim for punitive damages against AT&T.
            2          Mr. Shapiro also fails to adequately plead the mental state required to support a
            3    claim for punitive damages. In California, a “conclusory characterization of defendant’s
            4    conduct as intentional, willful and fraudulent is a patently insufficient statement of
            5    ‘oppression, fraud or malice.’” Brousseau v. Jarrett, 73 Cal. App. 3d 864, 872 (1977)
            6    (quoting Cal. Civ. Code § 3294(a)). The “mere use” of terms like fraud “is not enough.”
            7    Lavine v. Jessup, 161 Cal. App. 2d 59, 69 (1958). Instead, any “facts constituting bad
            8    faith or fraud must be specifically alleged.” Id.; see also Torralbo v. Davol, Inc., 2017
            9    WL 5664993, at *7 (C.D. Cal. Oct. 19, 2017).
          10           Mr. Shapiro’s allegations concerning malice, fraud, and oppression are based on
          11     nothing more than conclusory allegations and unreasonable inferences. For Count III,
          12     Mr. Shapiro’s conclusory assertions that AT&T acted with the required mental state
          13     (Compl. ¶ 206) are “devoid of factual support” and therefore insufficient. Perez v. Auto
          14     Tech. Co., 2014 WL 12588644, at *7 (C.D. Cal. July 14, 2014) (conclusory statements
          15     to support punitive damages “are not entitled to the presumption of truth under Iqbal and
          16     Twombly”). And for Count VI, Mr. Shapiro does not plead any mental state at all.
          17     Compl. ¶¶ 237–47. Because Mr. Shapiro “invites the court to read . . . an evil motive”
          18     into “facts that describe nothing more than the basic elements” of the claims he asserts,
          19     his request for punitive damages should be dismissed. Kelley, 750 F. Supp. 2d at 1148.5
          20                                        V.    Conclusion
          21           For the reasons set forth above, the Court should dismiss the complaint in its
          22     entirety due to Mr. Shapiro’s failure to plead proximate cause. Moreover, the Court
          23     should dismiss Counts III, IV, V, VI, and VII for the additional reasons addressed
          24     herein.
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                 5
                    To the extent that Mr. Shapiro intends to premise his punitive damages request on
          27     allegations sounding in fraud, he must plead those allegations with particularity under
                 Fed. R. Civ. P. 9(b). Align Tech., Inc. v. Miller, 2005 WL 3445623, at *2 (N.D. Cal.
          28     Dec. 14, 2005). Mr. Shapiro cannot plausibly claim to have met this heightened
                 standard.
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            1    Dated: December 6, 2019        Respectfully submitted,
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